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4-                                ^              BRUNO&BRUNO, L.L.P. ^
                 A Partnership of professional law corporations

         On this p 7 day of                        . 20 0 ib in the City of                               State of Louisiana, ihe
 undersigned, hereinafter referred to as client, does hereby employ and retain the legal services of DRUMO St DRUNO, a
 Partnership of Professional Law Corporations (herein "Law Firm"), to investigate, prosecute and collect, whether by suit,
 compromise orotherwise, client's claims asaresult ofHurricane Katrina which occurred On the 29'** day ofAugust, 2006, Ihe
 said claim againstpersonsorentitieswho intheopinion of theLaw Firm might be responsible therefore, at the address below

         Ifclaim is based on tort liability or negligence. Clientassigns and tiansfers an amount equal to the sum of all advances
 including but not limited tocourt costs and costsof litigation whichmayinclude, filing fees,depositioncosts, banscripl costs,
 expert and witness fees, travelexpenses; photographic, electronic, or digitalevidencereproduaion, investigiittin fees, litigation
 related medical expenses, long distance telephone expenses, postage charges, mileage andoutside courier service charges, and
 Westlawelecironic legal research charges;andTHIRTY THREE andONETHIRDPERCENT (33 l/3%)ofmyclaim tomy
 above named Law Finn. It is understood thai should the Law Firm find it necessary to file a suit on bchilf of the Client, in
 order to enforce Oie claim. Client assigns and transfers an amountequal totfiesum of all advances, including butnot limited to
 court costs and costs of litigation which mayincludefilingfees, deposition costs livingexpenses,transcript costs, expertand
 witness fees, travel expenses: photographic, electronic, or digital evidence reproduction, investigation fees, litigation related
 medical expenses, long distance telephone expenses, postagecharges, mileage and outside courier servicecharges, and westlaw
 electronic legal research charges and FORTY PERCENT(40%)ofmy claim to my above named Law Fiim.

           It is funlier understood and agreed tlial the Law Firm has a line of credit with the Whitney National Bank and is
 auiitoritted to draw upon thisline of credit forthe purpose of paying thecosts and expenses necessary to prosecute myclaim.
 The decision to secure such loan Is in the sole discretion oftheLaw Firm. The client shall be charged the suiterate ofinterest
 charged by the Whitney National Bank. I do hereby agree that tite fiill amountof the interest charged onsuch loan shall be
 considered a cost of ihc litigation and will be reimbursedtothe Law Firmout of the funds received by mron myclaim.

          It is further understoodand agreed that the LawFinn may act as co-counsel or associatewith otheranomeysat noextra
 cost to me at the Law Firm's sole discretion.

           It is understood andagreed that theattorneys acquire as their feeaninterest in thesubject matterofthe suit,proposed
 suit, or claim, in the prosecution or defenseof which it isemployed, and it isstipulated byand betweenthepariics that neither
 the Law Firmnor die clientmay, withoutIheconsentof theothersettle,compromise, release, dbcontinue, orotherwise dispose
 of the suit ofclaim.

          1. No counsel fee shall be paid if there is no recovery. All costs oflititration and all expenses tonnccled with the
  hundlint; of the said madcrs are to be borne bv the Law Firm.

          2. It is specifically understood andagreed thattheLawFirm Isnotallowed to giveor loan money inconsideration of
 hiring the Law Firm.

          3. This contract is drawn in accordance with ihe provisions of Louisiana Law contained in R.S.37:218and Civil Code
 Article 3028.


          1 HAVE R^AD-OVfiR AND FULLY UNDERSTAND THE ABOVE CONTRACT AND HAVE BEEN
 GIVEN A CgPfOF SAM0.

          BRUNO &                                             Client's Name: n
                                                              Client's Datnager^ropcny A^ress:
                 ^ATTORNEY                                     •y'793'b                                     Kia
                                                                    lOud


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